                       Case 1:07-cr-00788-JB Document 224 Filed 11/17/21 Page 1 of 2
AO 245D (Rev. 09/19)   Judgment in a Criminal Case for Revocations
                       Sheet 1

                                          UNITED STATES DISTRICT COURT
                                                             District of New Mexico

                 UNITED STATES OF AMERICA                                 Judgment in a Criminal Case
                                                                          (For Revocation of Probation or Supervised Release)
                                   V.
                       Phillip Angel Garcia                               Case Number: 1:07CR00788-001JB
                                                                          USM Number: 40092-051
                                                                          Defendant’s Attorney: Susan Burgess-Farrell

THE DEFENDANT:

☒    admitted guilt to violations of condition(s) Mandatory of the term of supervision.
☐    was found in violation of condition(s) after denial of guilt.

The defendant is adjudicated guilty of these violations:

Violation Number                Nature of Violation                                                   Violation Ended

Mandatory Condition             The defendant failed to refrain from the unlawful use of a            07/07/2021
                                controlled substance.


The defendant is sentenced as provided in pages 2 through 2 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984 .

☐ The defendant has not violated condition(s) and is discharged as to such violation(s) condition.

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

3360                                                                     November 17, 2021
Last Four Digits of Defendant’s Soc. Sec. No.                            Date of Imposition of Judgment


1977                                                                     /s/ James O. Browning
Defendant’s Year of Birth                                                Signature of Judge




                                                                         Honorable James O. Browning
Albuquerque, NM                                                          United States District Judge
City and State of Defendant’s Residence                                  Name and Title of Judge

                                                                         November 17, 2021
                                                                         Date
                       Case 1:07-cr-00788-JB Document 224 Filed 11/17/21 Page 2 of 2

AO 245D (Rev. 09/19)   Judgment in a Criminal Case for Revocations
                       Sheet 2 - Imprisonment                                                                        Judgment - Page 2 of 2



DEFENDANT: Phillip Angel Garcia
CASE NUMBER: 1:07CR00788-001JB

                                                              IMPRISONMENT
The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of: 7 months.

For the reasons stated on the record at the sentencing hearing held November 17, 2021 the Court varies downward.

A term of supervised release will not be reimposed.

☐ The court makes the following recommendations to the Bureau of Prisons:




☒    The defendant is remanded to the custody of the United States Marshal.
☐    The defendant shall surrender to the United States Marshal for this district:
     ☐ at on .
     ☐ as notified by the United States Marshal.
☐    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
     ☐ before 2 p.m. on .
     ☐ as notified by the United States Marshal.
     ☐ as notified by the Probation or Pretrial Services Office.

                                                                     RETURN

I have executed this judgment as follows:




Defendant delivered on                                                                                        to
                                                  at                                with a certified copy of this judgment.




                                                                                   UNITED STATES MARSHAL

                                                                              By
                                                                                   DEPUTY UNITED STATES MARSHAL
